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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

  Civil Action No. 21-CV-0162-WJM-STV

  ALESSANDRA MORALES, Esq.,

          Plaintiff,

  v.

  MCDIVITT LAW FIRM, P.C., LAW FIRM OF MICHAEL W. MCDIVITT, P.C., and
  MICHAEL W. MCDIVITT, Esq.,

          Defendants.

  ______________________________________________________________________________

    MOTION TO LEAVE TO RESTRICT ACCESS TO UNREDACTED VERSION OF
  FIRST AMENDED COMPLAINT AND JURY DEMAND [DOCUMENT NO. 32] UNDER
                    SEAL PURSUANT TO F.R.C.P. 5.2(f)


          Plaintiff Alessandra Morales (“Plaintiff” or “Mrs. Morales”), by and through her

  undersigned counsel, Clayton E. Wire and Emily R. Stevens of Ogborn Mihm, LLP, files the

  present Motion to File Unredacted Version of First Amended Complaint and Jury Demand

  (Document No. 32) Under Seal Pursuant to F.R.C.P. 5.2(f).

       1. Counsel for both parties conferred via telephone and email on November 23 and 24,

          2021. Defendants oppose the relief sought herein.

       2. Federal Rules of Civil Procedure 5.2(f) provides that “a person making a redacted filing

          may also file an unreadacted copy under seal.”

       3. Absent a court order, the public shall have access to all documents filed with the court.

          D.C.COLO.LCivR 7.2(a). However, D.C.COLO.LCivR 7.2(c) provides the process by

          which a party may file a motion to restrict public access.




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     4. Plaintiff requests this Court permit the filing of an unredacted version of the First

         Amended Complaint and Jury Demand (Document No. 32) in the above captioned matter

         under seal. The Amended Complaint and Jury Demand contains descriptions of

         communications, and facts or circumstances of which Mrs. Morales is only aware

         through her representation of client(s), and thus, such communications or facts are

         protected by the attorney-client privilege. Such redactions also preserve Defendants’

         ability to assert the same privilege.

     5. Plaintiff files both a redacted and unredacted First Amended Complaint and Jury

         Demand, seeking only a seal on the unredacted version, to accomplish the presumption of

         public access, while concurrently filing an unredacted copy under seal, pursuant to

         F.R.C.P 5.2(f).

         WHEREFORE, Plaintiff Mrs. Morales respectfully requests permission to file an

  unredacted version of her First Amended Complaint and Jury Demand (Document No. 32) under

  seal, pursuant to F.R.C.P. 5.2(f), in order to preserve attorney-client privileged information.

         Respectfully submitted this 24th day of November, 2021.


                                                                OGBORN MIHM, LLP


                                                                /s/ Emily R. Stevens
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